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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISON

JYQWAVOUS WHITAKER,                                  )
                                                     )
                          Plaintiff,                 )
                                                     )
v.                                                   )
                                                     )     CIVIL ACTION NO.
SHERIFF VICTOR HILL, in his individual               )
and official capacities, as Sheriff of Clayton       )
County Georgia and RAYMON SHEROD                     )     1:21-cv-03781-AT-JSA
WINN, in his individual capacity, as a Clayton       )
County Deputy Sherriff                               )
                                                     )
                          Defendants.                )
                                                     )

              DECLARATION OF JYQWAVOUS WHITAKER

      JYQWAVOUS WHITAKER, acting in accordance with 28 U.S.C. § 1746,

does hereby declare and say:

      1.     My name is Jyqwavous Whitaker. I am the Plaintiff in the above-

captioned litigation, and I am submitting this declaration in support of my

Amended Complaint for Damages filed on December 23, 2021. I am familiar with

the issues involved in this litigation. I am over the age of eighteen (18) years and

otherwise competent to testify about the statements made herein, which are made

based upon my personal knowledge.

      2.     Before, I filed this lawsuit, I was subjected to unjustified punishment

and intimidation by the Defendants that made Clayton County Sheriff’s Office’s
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administrative grievance procedure, that was officially on the books, completely

incapable of use to obtain relief.

      3.       In January of 2019, I was assaulted without reason or provocation by

three officers from the Scorpion Team, a special disciplinary assault squad selected

by Sheriff Victor Hill.

      4.       After this assault, though it was not in any way my fault, I was

punished and intimidated with a disciplinary report (“DR”) and put in the hole for

eight to nine days.

      5.       On April 2, 2019, I was again assaulted by three officers from the

Scorpion Team, including Deputy Burke and Deputy Williams, without reason or

provocation.

      6.       After this assault, though it was not in any way my fault, I was given a

DR and put in high max solitary confinement for approximately one month by

Captain Peterkin, a member of the Scorpion Team.

      7.       On September 12, 2019, at approximately 10:30AM, the events giving

rise to this action occurred. I was brutally and savagely assaulted by a former

Clayton County Deputy Sheriff, Raymon Sherod Winn, a member of the Scorpion

Team, without reason or provocation.

      8.       After this assault, though I did not disobey his commands, I was

given a DR and punished for “fighting” – getting beat by Deputy Winn.



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      9.     Deputy Winn is a huge man, about 6’5” with a body builder’s

physique.

      10.    Deputy Winn punched me in my head and face and beat my head into

the concrete floor and grabbed me by the neck and choked me while I was on the

floor on my stomach with my hands behind my back.

      11.    I lost consciousness as a result of his beating. When I regained

consciousness, I was on the floor with knots on my head. A picture of how I

looked after the beating is attached to my complaint in this case.

      12.    Because my injuries were very severe, I was taken to the medical

ward where my braces were removed from being imbedded in my lips as a result of

Defendant Winn’s blows to my face and head.

      13.    While in the medical ward, I was also medically cleared to complete a

four-hour administrative sentence in the restraint chair.

      14.    As Sargent Johnson, a member of the Scorpion Team, strapped me

into the restraint chair, he said that I was being put in the chair “because I tried to

swing on one of [his] officers.” He also asserted that Lieutenant Thomas, a

member of the Scorpion Team, ordered the restraint chair.

      15.    After four hours in the restraint chair, I spent one to two days in the

infirmary, then I was sent to the hole.




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      16.    I talked to my mother, Carlitha Whitaker, on September 12, 2019 and

told her what Defendant Winn did to me. My mom made several attempts to

communicate with Major Paul for the purpose of conducting a wellness check, and

her attempts went unanswered. (See Exhibit “A”).

      17.    On September 20, 2019, when I was still in the hole, my mom initiated

a complaint with Internal Affairs on my behalf. (See Exhibit “A”).

      18.    While I was in the hole, there was a female detainee in HU-3, Section

3, who could hear me through the ventilation system. I talked to her and asked her

to call my mom. She relayed messages from me to my mom and relayed messages

from my mom to me. When Clayton County Sheriff’s Office found out that I was

communicating with my mom through this female detainee, they put her entire

housing unit on lockdown.

      19.    Defendant Winn visited me daily for approximately the first two to

three weeks I was in the hole, delivering my serving tray, ordering me to clean my

cell, and threatening me. He told me that I was a sissy for calling my mom. He

told me that he was telling higher status detainees that I was a snitch. He told me

that I “need to hurry up and take [my] ass home.”

      20.    Because there is gang activity in the jail, once you are labeled by jail

staff as a snitch then your life is in danger as the staff will allow known gang

members into your cell to deliver a beat down.



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      21.    When I had been in the hole for approximately twenty-four (24) days,

I received an intercom message saying that Lieutenant Thomas wanted to see me in

lower release.

      22.    Deputy Peterson, a member of the Scorpion Team, came to get me

and took me to the “Law Law Building” where I was asked by Lieutenant Thomas

what happened on September 12, 2019.

      23.    There was a camera in the room, so the exchange may have been

captured on video.

      24.    I told Lieutenant Thomas the truth, that Defendant Winn brutally and

savagely attacked me. I submitted a written statement. (See Exhibit “B”).

      25.    I felt like Lieutenant Thomas was just taking my statement to appease

my mom who had filed an Internal Affairs complaint and was calling the jail

frequently asking a lot of questions.

      26.    The statement I provided to Lieutenant Thomas did not result in any

relief. After I provided my statement to Lieutenant Thomas, I was returned to the

hole. I believe I was returned to the hole because I would not recant what I told

my mother about what happened to me. I spent a total of thirty-nine (39) days in

the hole.




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          27.   When I was released from the hole, I went through orientation again.

Orientation consisted of directions about how to follow the rules such as obeying

officers and when your bed should be made.

          28.   My lawyer showed me the statement made by Sgt. Kali Huitt that

orientation consists of instructions on how to file a grievance. That statement is a

lie. My orientation did not consist of any directions regarding the grievance

procedure.

          29.   I have never been given orientation that included any instructions on

the grievance procedure at the Clayton County jail.

          30.   During the thirty-nine (39) days I spent in the hole, I did not have

access to the kiosk where grievances are supposed to be submitted.

          31.   In September of 2019, there was no grievance officer in my pod, HU-

2, section 2.

          32.   Because of the threats made against me by Raymon Winn, I did not

want to aggravate the situation more by filing a grievance which I could not file

anyway because of the fact that there was no grievance officer in my pod.

          33.   I have made only one grievance while in the Clayton County jail that I

can remember. Most of the time the kiosks don’t work or are shut down by jail

staff.




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